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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

               Plaintiff,                        Case No. 1:13-cr-238-BLW

      v.                                         ORDER

ANGEL ORTIZ

               Defendant.



      Finding good cause therefore


      NOW THEREFORE IT IS HEREBY ORDERED, that the motion to continue

sentencing (docket no. 57) is GRANTED. The current sentencing date of May 12, 2014,

is VACATED. The new sentencing date shall be July 7, 2014, at 2:30 p.m. in the

Federal Courthouse in Boise, Idaho.

                                  DATED: May 8, 2014



                                  B. LYNN WINMILL
                                  Chief U.S. District Court Judge




ORDER - 1
